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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
CASE NO.
Plaintiff,
vs JUDGE J, BARRETT
INFORMATION
SCOTT KRAVETSKY,
18 U.S. C. § 2252(a)(2) and (b)
Defendant.

 

 

THE UNITED STATES ATTORNEY CHARGES:
COUNT 1
(Receipt of Child Pornography)

Between on or about May 23, 2018 and July 7, 2018, within the Southern District of Ohio,
the defendant, SCOTT KRAVETSKY, knowingly received a visual depiction using any means
and facility of interstate and foreign commerce, and the production of such visual depiction
involved the use of a minor engaging in sexually explicit conduct, as defined in Title 18, United
States Code, Section 2256(2)(A), and the visual depiction is of such conduct.

In violation of 18 U.S.C. § 2252(a)(2) and (b).

FORFEITURE ALLEGATION

Upon conviction of the offense set forth in Count 1 of this Information, the defendant,
SCOTT KRAVETSKY, shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a): (1)
any visual depiction described in section 2251, 2251A, 2252, 2252A, 2252B, or 2260 of Chapter
110 of Title 18 of the United States Code, or any book, magazine, periodical, film, videotape or

other matter which contains any such visual depiction, which was produced, transported, mailed,

 
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shipped or received in violation of Chapter 110 of Title 18 of the United States Code; (2) any
property, real or personal, constituting or traceable to gross profits or other proceeds obtained from
such offense; and (3) any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such property, including but
not limited to:
a. Samsung Android cell phone with IMEI # 35803408117919; and
b. All additional items seized, including, but not limited to: all storage media (micro
SD cards, 8mm video tapes, Zip drives, CDs, mini CDs, CDRs, DVDs, mini DVDs,

floppy disks, VHS tapes, and cassette tapes), documents, packages and
photographs.

BENJAMIN C. GLASSMAN
UNITED STATES ATTORNEY

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KYLE HEALEY, (0083794) 7

Assistant United States Attorney

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